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                          UNITED STATES DISTRICT COURT
                                               for the
                                   DISTRICT OF MINNESOTA

                                   Cause No: 24-cv-100 SRN/DTS


 PRESTON BYRON KNAPP;
 MICHELLE NICHOLE KNAPP.


                       Plaintiffs,
                                                     Honorable Judge Susan Richard Nelson
        vs.                                            Magistrate Judge David T. Shultz
 COMPASS MINNESOTA, LLC;
 DANIEL PHILIP HOLLERMAN (official and
 individual capacities).


                      Defendants.




PLAINTIFFS' MOTION TO STAY ENFORCEMENT OF JUDGMENT PENDING
APPELLATE DECISION, OR IN THE ALTERNATIVE, REQUEST TO FIX BOND
PURSUANT TO RULE 62(b)

INTRODUCTION

       Plaintiffs, Preston Byron Knapp and Michelle Nichole Knapp (collectively, "Plaintiffs"),

respectfully move this Court, pursuant to Federal Rule of Civil Procedure 62, for an order

staying the enforcement of the Judgment entered on August 12, 2024, in favor of Defendants

Compass Minnesota, LLC, and Daniel Philip Hollerman, pending the resolution of Plaintiffs'

appeal to the United States Court of Appeals for the Eighth Circuit.

       Plaintiffs have timely filed an appeal challenging the judgment, and Defendants have

initiated efforts to enforce the judgment. Plaintiffs seek a stay of these enforcement efforts until

such time as the Eighth Circuit rules on the appeal. Alternatively, should the Court decline to
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grant a stay, Plaintiffs request that this Court set a bond amount under Rule 62(b), which would

stay enforcement upon the posting of the bond.

GROUNDS FOR STAY OF ENFORCEMENT OF JUDGMENT

   1. Premature State Court Filing by Defendant: On September 5, 2024, Defendant Daniel

       Philip Hollerman, through his attorney Robert J. Kouba, filed an action in Minnesota

       State Court (Hennepin County, Case No. 27-CV-24-13306), seeking enforcement of the

       August 12, 2024, federal judgment as a foreign judgment. This filing was premature, as it

       occurred within the 30-day automatic stay period provided by Federal Rule of Civil

       Procedure 62(a) (emphasis added). Under this rule, Defendants could not lawfully

       initiate collection efforts until September 11, 2024, the earliest possible date after the

       expiration of the automatic stay.

   The premature filing in State Court was conducted in bad faith, disregarding the protections

of Rule 62(a). Plaintiffs believe that this action was taken as part of a broader effort to harass and

intimidate them, rather than for legitimate legal purposes. This unnecessary and improper action

has resulted in increased stress and undue burden on the Plaintiffs.

   2. Bad Faith Conduct: Defendant Hollerman’s continued attempts to enforce the judgment

       while the automatic stay was still in place, and during the pendency of the appeal, are

       reflective of bad faith. Plaintiffs have filed a timely appeal to the Eighth Circuit,

       challenging the underlying judgment on multiple grounds, including lack of subject

       matter jurisdiction. Allowing the premature enforcement of the judgment while it is under

       appellate review would unjustly prejudice Plaintiffs and could result in irreparable harm

       if the judgment is later reversed or modified.
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   3. Request for Stay Pending Appeal: Plaintiffs respectfully request that the Court stay all

       enforcement efforts, including the ongoing State Court proceedings, until the United

       States Court of Appeals for the Eighth Circuit has issued its ruling on the pending appeal.

       Such a stay would prevent duplicative or conflicting judgments and would preserve the

       status quo while the appellate process is allowed to run its course. Plaintiffs submit that

       granting the stay is in the interest of justice and judicial economy, ensuring that

       premature enforcement actions are not pursued before the validity of the underlying

       judgment is fully resolved.

ALTERNATIVE REQUEST FOR STAY BY BOND PURSUANT TO RULE 62(b)

       In the alternative, should this Court decline to grant a stay of enforcement based on the

aforementioned grounds, Plaintiffs respectfully request that the Court fix a bond amount to stay

enforcement pursuant to Federal Rule of Civil Procedure 62(b). Rule 62(b) provides:

       “(b) Stay by Bond or Other Security. At any time after judgment is entered, a party may
obtain a stay by providing a bond or other security. The stay takes effect when the court
approves the bond or other security and remains in effect for the time specified in the bond or
other security.”

       Plaintiffs are prepared to post security in the form of a bond in an amount determined by

this Court to be reasonable and sufficient to stay the enforcement of the August 12, 2024,

judgment while Plaintiffs’ appeal is pending before the Eighth Circuit Court of Appeals.

Plaintiffs request that this Court set an appropriate bond amount that balances Defendants’

interest in protecting their judgment with Plaintiffs’ need to prevent undue financial hardship

during the appellate process.

CONCLUSION

   For the reasons stated above, Plaintiffs respectfully request that this Court:
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   1. Grant a stay of enforcement of the August 12, 2024, judgment, including all ongoing

       State Court enforcement actions, until the Eighth Circuit Court of Appeals renders its

       decision on Plaintiffs' appeal; or,

   2. In the alternative, fix a reasonable bond amount under Federal Rule of Civil Procedure

       62(b) to stay enforcement of the judgment pending appeal, upon the posting of such bond

       by Plaintiffs.



Dated: October 21st, 2024                                  RESPECTFULLY SUBMITTED,

                                                           BY:      /s/ Preston Byron Knapp
                                                                   Preston Byron Knapp
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                                                                   /s/ Michelle Nichole Knapp
                                                                   Michelle Nichole Knapp
                                                                   Plaintiff, Pro Se
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                                    Certificate of Service

       Plaintiffs certify that on October 21st, 2024, the foregoing Motion to Stay
Enforcement was filed with the Clerk of this Court via ECF. We further certify that,
on the same date, the same document was served on Counsel listed below via
electronic email.

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